Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 1 of 9 Page ID
                                  #:3885




           Exhibit B
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 2 of 9 Page ID
                                  #:3886
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 3 of 9 Page ID
                                  #:3887
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 4 of 9 Page ID
                                  #:3888
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 5 of 9 Page ID
                                  #:3889
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 6 of 9 Page ID
                                  #:3890
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 7 of 9 Page ID
                                  #:3891
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 8 of 9 Page ID
                                  #:3892
Case 2:18-cr-00331-GW   Document 279-2 Filed 12/12/22   Page 9 of 9 Page ID
                                  #:3893
